           Case 2:21-cr-00065-JLS Document 69 Filed 04/25/22 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     CRIMINAL No. 21-cr-00065-JLS
                v.

JOHN DOUGHERTY, ET AL.,

                       Defendants.


   DEFENDANT JOHN DOUGHERTY’S RESPONSE TO THE GOVERNMENT’S
 MOTION TO ADMIT SIMILAR CRIMES AND ACTS OF JOHN DOUGHERTY AND
            GREGORY FIOCCA PURSUANT TO RULE 404(b) OF
                 THE FEDERAL RULES OF EVIDENCE

        In its motion to admit evidence pursuant to Rule 404(b) of the Federal Rules of Evidence

(the “Motion”), the Government makes unmistakably clear that its trial strategy revolves around

proffering to the jury the false premise that nepotism is equivalent to extortion. Lacking any

evidence that the Defendants entered into an extortionate conspiracy – because they did not – the

Government wants the Court to allow it to substitute stale, irrelevant, and plainly unfairly

prejudicial instances of past conduct for proof that an actual federal crime occurred.

        Factually, the Government has alleged that Mr. Fiocca got into a fistfight on a job site

and, after the fact, Mr. Dougherty declined to take adverse employment action against him.

Legally, the Government concludes that Mr. Fiocca’s fistfight commenced a conspiracy to

commit extortion between himself and Mr. Dougherty. The Government’s problem is that it

must prove that a conspiratorial agreement to commit extortion was entered between the

Defendants. Lacking any such evidence, the Government is trying to reconstitute its burden.

Now, the Government is proffering that evidence that Mr. Dougherty took favorable actions


DMFIRM #403013081 v1
           Case 2:21-cr-00065-JLS Document 69 Filed 04/25/22 Page 2 of 4




toward family members, including Mr. Fiocca, nearly a decade ago somehow proves a

conspiracy was formed in August 2020. (Indictment 2 ¶ 6). Why? Not because it constitutes

direct or indirect evidence of a conspiracy.1 Rather, according to the Government, because

nepotistic behavior is equivalent to extortionate behavior. Having constructed for itself a burden

of proof having no relation to Hobbs Act extortion, the Government is requesting the Court let it

prove nepotism instead. The Court must decline and hold the Government to its burden.

        In the Motion the Government attempts to repurpose wiretap evidence obtained pursuant

to a wiretap authorized over an eighteen month period in 2015 through 2016 as part of its

separate case against Mr. Dougherty.2 As a threshold matter, as the Government must proffer a

foundation for these recordings, it must reveal to the jury that Mr. Dougherty was under separate

investigation for separate offenses for years prior to the events charged in this case. This is

demonstrably unfairly prejudicial to Mr. Dougherty as it encourages the jury to speculate as to

the nature of the other investigation into Mr. Dougherty, with no probative value to counter-

balance this prejudice.3


1
        Direct evidence, also known as intrinsic evidence, “must be either directly probative of
        one of [the elements of the charged crime] or an uncharged contemporaneous act that
        facilitates the commission of [the charged crime].” United States v. Shelow, No. 10-
        0037, 2011 U.S. Dist. LEXIS 141626, at *9 (E.D. Pa. Dec. 8, 2011) (emphasis added).
        Evidence that is not intrinsic, must be analyzed under the rubric of Rule 404(b). And,
        where such an analysis is required, “a mantra-like recitation” of the permissible purposes
        under 404(b) is insufficient to justify admission of the evidence. United States v. Morley,
        199 F.3d 129, 137 (3d Cir. 1999) (“Neither a trial court nor an appellate court is
        comforted when a proponent attempts to justify ‘bad act’ evidence by resorting to a
        mantra-like recitation of the provisions of Rule 404(b).”).
2
        Mr. Dougherty hereby joins co-Defendant Fiocca’s response (Dkt. No. 68) and
        incorporates the arguments contained therein by reference.
3
        While the Government has yet to designate specific calls for use at trial, in discovery
        provided in this action, the Government has identified a number of recordings that have
        no relevance to the extortion charges that Mr. Dougherty faces. For example, there are
        various calls in which Mr. Dougherty discusses tickets to sporting events that he has


DMFIRM #403013081 v1                              2
           Case 2:21-cr-00065-JLS Document 69 Filed 04/25/22 Page 3 of 4




        The Indictment charges that in August 2020, Mr. Dougherty and Mr. Fiocca conspired to

and committed Hobbs Act Extortion in violation of 18 U.S.C. § 1951(a) and 18 U.S.C.

§1951(b)(2). But, nepotism is not extortion. Nepotism does not make it more likely that

extortion occurred. Nepotism is not a federal crime; it is not a crime at all. Thus, evidence of

Mr. Fiocca’s previous job performance, and Mr. Dougherty’s efforts to manage Mr. Fiocca, are

simply irrelevant to whether Mr. Dougherty deliberately conspired to or did indeed extort this

specific contractor in August of 2020 in violation of the Hobbs Act. Rather, these carefully

selected, isolated past instances would serve only to prejudice Mr. Dougherty’s character in the

eyes of the jury and to unnecessarily lengthen the trial. And, what the evidence demonstrates is

that Mr. Dougherty, as Local 98’s business manager, took the side of one of his members in a

labor dispute. This is exactly the type of conduct that labor laws condone, if not mandate.

        Even worse, the Government tries to expand its theory to capture evidence that

“[b]etween 2013 and 2016, Dougherty caused Local 98 to pay two members of his family for

time they were not working.” (Gov’ts Mot. at 1.) The Government doesn’t bother explaining

what Mr. Dougherty’s alleged conduct with respect to other family members – which, evidently,

did not graduate to extortion in the Government’s eyes – has to do with whether Mr. Dougherty

and Mr. Fiocca entered into a conspiratorial agreement to commit extortion in August 2020.

While offering no support for the Government’s charges, its proffer of this evidence makes

crystal clear the Government’s intention to make this trial about whether Mr. Dougherty vaguely

“favored” family members in his conduct as Local 98 business manager and its strategy to

        provided to Mr. Fiocca and others. These conversations have no relevance to whether or
        not Mr. Dougherty and Mr. Fiocca were parties to a conspiracy to extort, and indeed, did
        extort, the contractor referenced in the Indictment nearly five years later, in August 2020.
        This is but further evidence of the Government’s effort to tarnish Mr. Dougherty’s
        reputation and character before the jury, rather than try the case on the facts directly at
        issue.



DMFIRM #403013081 v1                             3
           Case 2:21-cr-00065-JLS Document 69 Filed 04/25/22 Page 4 of 4




convince the jury that doing so is somehow illegal under the guise of a Hobbs Act charge. And,

as a practical matter, the introduction of this evidence would necessarily result in a trial within a

trial. Mr. Dougherty would be forced to offer evidence regarding each and every employment

decision put at issue by the Government as well as many other employment decisions the

Government has not sought to criminalize. This evidence, while not only irrelevant, would

distract the jury from the true issues at trial.

        Thus, given the lack of any relevance of the evidence identified in the Motion to the

charges that Mr. Dougherty faces during the upcoming trial, and the unfairly prejudicial nature of

this evidence and the manner and circumstances in which the Government acquired it, Mr.

Dougherty respectfully requests that the Court deny the Government’s motion to admit this

evidence at trial.



 Dated: April 25, 2022                                 Respectfully submitted,


                                                       /s/ Henry E. Hockeimer, Jr.        .
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DMFIRM #403013081 v1                               4
